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                                                                   CIVIL COVER SHEET

                                          (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                 DEFENDANTS



  (b)
                         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)




  (c)           (Firm Name, Address, and Telephone Number)                                                     (If Known)




II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                              (For Diversity Cases Only)                                   and One Box for Defendant)
                                                                                                                       PTF        DEF                                     PTF      DEF
                                       (U.S. Government Not a Party)                                                                                 or


                                                                                                                                                     and
                                       (Indicate Citizenship of Parties in Item III)




IV. NATURE OF SUIT (Place an “X” in One Box Only)
         CONTRACT                                         TORTS                             FORFEITURE/PENALTY                       BANKRUPTCY                 OTHER STATUTES
                                PERSONAL INJURY                 PERSONAL INJURY



                                                                                                                                PROPERTY RIGHTS




                                                                                                     LABOR                      SOCIAL SECURITY
                                                              PERSONAL PROPERTY




        REAL PROPERTY             CIVIL RIGHTS               PRISONER PETITIONS                                                 FEDERAL TAX SUITS
                                                              Habeas Corpus:




                                                                                                IMMIGRATION
                                                               Other:




V. ORIGIN (Place an “X” in One Box Only)

                                                                                                                   (specify)
                                                                                            (Do not cite jurisdictional statutes unless diversity)

VI. CAUSE OF ACTION

VII. REQUESTED IN                                                 CLASS ACTION              DEMAND $
     COMPLAINT:                                                                                                                         JURY DEMAND:
VIII. RELATED CASE(S)
                                    (See instructions):
      IF ANY


FOR OFFICE USE ONLY
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                  INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44




I.(a)   Plaintiffs-Defendants.


  (b)   County of Residence.


  (c)   Attorneys.


II.     Jurisdiction.




                                                        .                  ; NOTE: federal question actions take precedence over diversity
        cases.

III.    Residence (citizenship) of Principal Parties.


IV.     Nature of Suit.



V.      Origin.




VI.     Cause of Action.                                                                                             Do not cite jurisdictional
        statutes unless diversity.

VII.    Requested in Complaint.



VIII. Related Cases.


Date and Attorney Signature.
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